Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 1 of 19 Page ID
                                     #:6
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 2 of 19 Page ID
                                     #:7
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 3 of 19 Page ID
                                     #:8
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 4 of 19 Page ID
                                     #:9
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 5 of 19 Page ID
                                    #:10
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 6 of 19 Page ID
                                    #:11
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 7 of 19 Page ID
                                    #:12
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 8 of 19 Page ID
                                    #:13
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 9 of 19 Page ID
                                    #:14
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 10 of 19 Page
                                  ID #:15
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 11 of 19 Page
                                  ID #:16
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 12 of 19 Page
                                  ID #:17
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 13 of 19 Page
                                  ID #:18
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 14 of 19 Page
                                  ID #:19
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 15 of 19 Page
                                  ID #:20
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 16 of 19 Page
                                  ID #:21
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 17 of 19 Page
                                  ID #:22
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 18 of 19 Page
                                  ID #:23
Case 2:22-cv-03129-SSS-JPR   Document 1-1   Filed 05/09/22   Page 19 of 19 Page
                                  ID #:24
